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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,          ) CASE NO.
                                        )
13         Plaintiff,                   )
                                        )
14      v.                              )
                                        ) UNITED STATES’ COMPLAINT
15   UNITED MICROELECTRONICS            ) FOR INJUNCTIVE RELIEF
     CORPORATION; FUJIAN JINHUA         )
16   INTEGRATED CIRCUIT, CO., LTD.; and )
     CHEN ZHENGKUN a.k.a. STEPHEN CHEN, )
17                                      )
                                        )
18         Defendants.                  )

19
                                                INTRODUCTION
20
            1.      The United States of America (“United States”) brings this action against Defendants
21
     United Microelectronics Corporation (“UMC”), Fujian Jinhua Integrated Circuit, Co., Ltd. (“Jinhua”), and
22

23 Chen Zhengkun a.k.a. Stephen Chen (“Chen”), pursuant to 18 U.S.C. § 1836, to obtain permanent

24 injunctive relief to prevent Defendants from (1) exporting, reexporting, causing the export of, attempting

25 to export to the United States; selling or supplying, directly or indirectly to the United States; or causing

26 the import into the United States of, any products containing DRAM manufactured by Jinhua or UMC; or

27
     conducting any transaction that evades or avoids or has the purpose of evading or avoiding that
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 1 prohibition; or (2) transferring or in any way conveying Trade Secrets 1-8 (described below) to any other

 2 individual or entity; and for all such further relief as may be just and proper.

 3
            2.      The United States has criminally charged Defendants UMC, Jinhua, and Chen with
 4
     conspiracy to commit economic espionage in violation of 18 U.S.C. § 1831(a)(5); conspiracy to commit
 5
     theft of trade secrets in violation of 18 U.S.C. § 1832(a)(5); and knowing receipt, purchase, and possession
 6
     of trade secrets, knowing them to have been stolen and appropriated, obtained, and converted without
 7

 8 authorization, in violation of 18 U.S.C. §§ 1831(a)(3) and 2. See Indictment, United States v. United

 9 Microelectronics Corp., et al., 18-CR-465-LHK (N.D. Cal. filed Sept. 27, 2018) (“Indictment”).
10          3.      As set forth in the Indictment, dynamic random-access·memory (“DRAM”) is a memory
11
     device product used in electronics to store information. DRAM stores each bit of data in a separate tiny
12
     capacitor within an integrated circuit. DRAM is a technologically advanced commodity; it is widely used
13
     in digital electronics where low-cost and high-capacity memory is required. DRAM is used in leading-
14

15 edge computing, consumer, networking, automotive, industrial, embedded, and mobile productions, and

16 is a product that is used or intended for use in interstate or foreign commerce.

17          4.      Growth of the electronics industry in the People’s Republic of China (“PRC”) created
18 significant demand for memory products such as DRAM. The Central Government and State Council of

19
     the PRC publicly identified the development of DRAM technology as a national economic priority
20
     because PRC companies had not been able to develop technologically advanced DRAM production
21
     capabilities, and PRC electronics manufacturers relied on producers outside the PRC to supply DRAM.
22

23 DRAM production technology was closely held by manufacturers in the United States, South Korea, and

24 Taiwan, including Micron Technology, Inc. (“Micron”), which had improved the technology through

25 intensive research and development over many years.

26
            5.      Aware of the PRC’s national priority and the barriers placed by non-PRC manufacturers,
27
     including Micron, on access to the technology, Defendants UMC and Chen obtained DRAM trade secrets
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 1 belonging to Micron and conveyed information containing those trade secrets to Defendant Jinhua, a

 2 company controlled by the PRC government, without authorization from Micron.

 3
                                         JURISDICTION AND VENUE
 4
            6.      This action arises under 18 U.S.C. § 1836(a), which permits the Attorney General to
 5
     “obtain appropriate injunctive relief” against violations of 18 U.S.C. §§ 1831 and 1832. This Court has
 6
     subject matter jurisdiction over this action under 18 U.S.C. § 1836(c), 28 U.S.C. § 1345, and 28 U.S.C.
 7

 8 § 1331.

 9          7.      This Court may exercise personal jurisdiction over Defendants UMC, Jinhua, and Chen
10 because each of the defendants committed an act in furtherance of the offenses in this District, as set forth

11
     below. In addition, UMC and Jinhua have purposefully availed themselves of the protections of U.S. law
12
     by applying for and obtaining U.S. patents containing the stolen trade secrets, as set forth below. UMC
13
     has also incorporated a wholly-owned subsidiary that it uses as its North American sales arm, UMC Group
14

15 (USA), in California, with a principal place of business located in this District.

16           8.     Venue is proper in the Northern District of California pursuant to 28 U.S.C. § 1391(b)(3),

17 (c)(2), (c)(3), and (f)(3), and 18 U.S.C. §1837, because an act in furtherance of the offenses occurred in

18 this District.

19
                                       INTRADISTRICT ASSIGNMENT
20
            9.      The acts in furtherance of the offenses in this District occurred in Santa Clara County and
21
     Alameda County.
22

23                                                THE PARTIES

24          10.     Plaintiff, the United States of America, acts pursuant to the authority in 18 U.S.C. § 1836

25 to file a civil suit to obtain appropriate injunctive relief against violations of 18 U.S.C. §§ 1831 and 1832.

26
            11.     Defendant UMC is a semiconductor foundry company headquartered in Taiwan with
27
     global offices in Taiwan, China, Europe, Singapore, Japan, Korea, and the United States, including the
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 1 offices of its wholly-owned subsidiary, UMC Group (USA), in Sunnyvale, California. UMC Group

 2 (USA) is a California corporation with a principal place of business at 488 Deguigne Drive, Sunnyvale,

 3
     California. In its SEC Form 20-F for fiscal year ended December 31, 2017, UMC stated that its “sales in
 4
     North America are made through UMC Group (USA), our subsidiary located in Sunnyvale, California.”
 5
     UMC is publicly listed and traded on the New York Stock Exchange. UMC did not, prior to the alleged
 6
     theft of trade secrets set forth in this Complaint, possess advanced DRAM-related technology.
 7

 8          12.    Defendant Jinhua was established in early 2016 in the Fujian Province of China for the sole

 9 purpose of designing, developing, and manufacturing DRAM. Jinhua was created with US$5.65 billion
10 in funding provided by the PRC government and PRC government entities. Its two major shareholders

11
     were Electronics & Information Group Co., Ltd. and Jinjiang Energy Investment Co., Ltd., which were
12
     PRC state-owned enterprises.
13
            13.    Defendant Chen is a Taiwanese national and former General Manager and Chairman of
14

15 Rexchip Electronics Corporation (“Rexchip”). Micron acquired Rexchip in or around 2013, and renamed

16 it Micron Memory Taiwan Co., Ltd. (“MMT”). Chen became the President of MMT and Site Director of

17 MMT’s Fabrication Facility 16, responsible for making Micron’s 25nm DRAM chip. Chen resigned from

18 MMT in July 2015 and began working for UMC as its Senior Vice President and Fabrication Director in

19
     Taiwan in September 2015. In or around January 2016, Chen helped negotiate the terms of a technology
20
     cooperation agreement between UMC and Jinhua and became the Senior Vice President of UMC’s newly
21
     formed New Business Development (“NBD”) division, tasked with overseeing UMC’s F32nm DRAM
22

23 development project and the technology cooperation agreement between UMC and Jinhua. In or around

24 February 2017, Chen became the President of Jinhua in charge of its DRAM production facility.

25 //

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     //
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     //
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 1                              VIOLATIONS OF 18 U.S.C. §§ 1831 and 1832

 2 As set forth in the Indictment and below:

 3 Violations of 18 U.S.C. § 1831(a)(5): Conspiracy to Commit Economic Espionage

 4          14.    Beginning in or about January 2016, and continuing to present day, defendants UMC,

 5 Jinhua and Chen, along with others named as defendants in the Indictment, knowingly combined,

 6 conspired, and agreed to:

 7                 a. knowingly steal and without authorization appropriate, take, carry away, and conceal,

 8                     and by fraud, artifice and deception obtain trade secrets belonging to Micron;

 9                 b. knowingly and without authorization copy, duplicate, sketch, draw, photograph,

10                     download, upload, alter, destroy, photocopy, replicate, transmit, deliver, send, mail,

11                     communicate, and convey trade secrets belonging to Micron; and

12                 c. knowingly receive, buy, and possess trade secrets belonging to Micron, knowing the

13                     same to have been stolen, appropriated, obtained, and converted without

14                     authorization; intending and knowing that the offenses would benefit a foreign

15                     government, namely the PRC, and a foreign instrumentality, namely Jinhua,

16 in violation of Title 18, United States Code, Section 1831(a)(5).

17          15.    In order to develop DRAM technology and production capabilities without investing

18 years of research and development and the expenditure of many millions of dollars, UMC and

19 Jinhua, a company entirely funded by the PRC government, and employees of both, conspired to

20 circumvent Micron’s restrictions on its proprietary technology and illegally obtain DRAM

21 technology that had been developed by Micron, including Trade Secrets 1 through 8, discussed

22 infra Paragraphs 33-40.

23          16.    In or around early 2016, the PRC formed and funded Jinhua for the purpose of

24 developing, designing, and mass-producing advanced DRAM technology. The PRC prioritized the

25 development of integrated circuit devices, which included DRAM, in its 13th Five-Year Plan, a

26 national plan that included objectives for China’s economic priorities for the years 2016-2020,

27 ratified by the National People’s Congress, and which established the Chinese Communist Party’s

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 1 vision for the country’s future developments.

 2          17.     In or around January 2016, UMC entered into a technology cooperation agreement with

 3 Jinhua to develop DRAM technology for a product that UMC referred to as the “32nm and 32Snm

 4 DRAM” or “F32nm/F32Snm DRAM.” Under the technology cooperation agreement, UMC would

 5 provide the DRAM research and development, and Jinhua would provide the manufacturing and

 6 fabrication facilities to mass produce DRAM. UMC and Jinhua were to jointly own the DRAM

 7 technology and development. Under the terms of the agreement, Jinhua would provide US$300 million

 8 for purchasing necessary equipment for DRAM development and would pay US$400 million to UMC

 9 based on the progress of DRAM development. In or around April 2016, Taiwan’s Ministry of
10 Economics approved the UMC and Jinhua technology cooperation agreement.

11          18.     In the years leading up to the technology cooperation agreement, UMC did not have

12 advanced DRAM technology and had not been producing DRAM. UMC, however, had intentions to

13 take over DRAM business in China.

14          19.     In September 2015, UMC hired Chen, who was previously the President of MMT and the

15 site director of MMT’s Fabrication Facility 16 in charge of producing Micro’s 25nm DRAM product, to

16 be the Senior Vice President of UMC. In January 2016, UMC established the NBD division for

17 developing DRAM technology to transfer to Jinhua and placed Chen in charge of the NBD division.

18          20.     From in or around October 2015 through April 2016, Chen recruited and hired two MMT

19 employees to work for UMC and develop F32nm DRAM technology.

20          21.     In or around November 2015, Chen hired a former MMT employee (“Employee 1”) to

21 work for UMC. Prior to leaving MMT, Employee 1 stole confidential and proprietary materials

22 belonging to Micron, including trade secrets pertaining to the prior, current, and future generations of

23 Micron’s DRAM technology, including the 80 (30nm), 90 (25nm), 100 (20nm), and 110 (1Xnm) series

24 DRAM. While working at UMC, Employee 1 referenced the stolen Micron materials to support UMC’s

25 design of the F32nm DRAM technology for transfer to Jinhua pursuant to the two companies’

26 technology transfer agreement. Employee 1 stored the stolen Micron trade secrets, including Trade

27 Secrets 1, 6, 7, and 8, discussed infra Paragraphs 33-40, on one or more digital devices belonging to

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 1 UMC.

 2          22.    Between in or around December 2015 and April 2016, Employee 1, acting as an agent of

 3 UMC, communicated with a current employee of MMT (“Employee 2”). Employee 2 provided

 4 Employee 1 with confidential and proprietary Micron information to further UMC’s F32nm DRAM

 5 technology design, including information related to Micron’s wafer specifications for its 25nm DRAM

 6 chip.

 7          23.    On April 26, 2016, Employee 2 left MMT’s employment. Employee 2 told MMT that he

 8 was leaving to work at his family business, and he signed the MMT Declaration of Resignation,

 9 declaring and certifying that he did not keep any documents, confidential or otherwise, belonging to the
10 company, and that he destroyed any hard copy or electronic forms in his possession or control that were

11 stored on non-Micron property, including computers, phone, personal email, or file sharing accounts.

12 Employee 2 did not leave to work for his family business but rather immediately began working for

13 UMC.

14          24.    In the weeks leading up to Employee 2’s resignation from MMT, he downloaded over

15 900 confidential and proprietary files belonging to Micron, including Trade Secrets 1-8, discussed infra

16 Paragraphs 33-40, by downloading the files from Micron servers and transferring them to USB external

17 storage devices or uploading the files to his personal Google Cloud account stored on servers in the

18 United States. Many of the files were marked “Micron Confidential,” “Micron Technology, Inc.,

19 Confidential and Proprietary,” or “Micron Confidential/Do Not Duplicate.” The created dates in the

20 Google files metadata showed that Employee 2 accessed Micron confidential and proprietary files both

21 before and after he left Micron employment, and while working at UMC.

22          25.    In the weeks leading up to Employee 2’s resignation from MMT, Employee 2 ran

23 numerous deletion processes and a CCleaner program on his laptop computer to mask his theft of

24 Micron trade secrets. He also conducted numerous internet searches, accessing a number of publicly

25 available news articles about the PRC government’s support of the growth of the DRAM business in the

26 PRC, and specifically on UMC and Jinhua’s cooperation toward creating and producing DRAM.

27          26.    While working at UMC, Employee 2 referenced Micron trade secrets to assist and further

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 1 UMC’s development of its F32nm DRAM technology. In or around July or August 2016, Employee 2,

 2 at the direction of a UMC employee, referenced Micron’s Trade Secret 5 and provided critical design

 3 rule data to that employee to further UMC’s development of its F32nm DRAM technology, knowing

 4 that UMC would transfer the technology to Jinhua. Employee 2 used his UMC-assigned laptop to

 5 access his Google Drive, download a copy of Trade Secret 5, and reference the data contained therein to

 6 assist UMC with its F32nm DRAM design rule. UMC employees were directed to use the information

 7 Employee 2 provided to complete UMC’s F32nm DRAM design rule. Trade Secret 5 and UMC’s

 8 F32nm DRAM design rule were stored in Employee 2’s Google Drive, and a comparison of the two

 9 show Micron’s information being used in UMC’s F32nm DRAM design rule document.
10          27.     On October 23, 2016, Chen, UMC, Jinhua, and government officials from the PRC

11 attended a Jinhua/UMC recruiting fair in the Northern District of California to recruit employees from

12 the United States with semi-conductor experience to work for both companies in either the research and

13 development or sales and marketing division. Chen stated at the recruiting fair that UMC had

14 transferred its 25nm DRAM chip to Jinhua. On or about October 24, 2016, Chen and others from UMC

15 and Jinhua, including the mayors from the PRC cities of Jinjiang and Quanzhou, also visited

16 semiconductor equipment-manufacturing companies Applied Materials, Lam Research, and KLA

17 Tencor, all located in the Northern District of California, to facilitate its DRAM production process.

18 While at the recruiting fair and visiting the equipment-manufacturing companies in the Northern District

19 of California, Chen, UMC, and Jinhua had obtained and were in continuous control of the stolen Micron

20 trade secrets.

21          28.     From in or around September 2016 through March 2017, UMC and Jinhua filed five

22 patents and a patent application concerning DRAM technology that contained information that was the

23 same or very similar to technology described in Micron’s Trade Secrets 2 and 6. Employee 1 was listed

24 as an inventor in each of the five patents and the patent application. The patents were subsequently

25 jointly issued to UMC and Jinhua. The information contained in the patents and patent application

26 contained Micron trade secrets that could not be obtained through reverse engineering.

27          29.     In February 2017, Taiwan law enforcement authorities executed search warrants and

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 1 seized items from UMC’s offices and the residences of Employee 1 and 2. They found electronic and

 2 hard copy files containing Micron trade secrets in areas and on devices associated with UMC and

 3 belonging to Employee 1 and 2. Knowing that Taiwan law enforcement was on its way to execute

 4 search warrants at UMC, another UMC employee directed both Employee 1 and 2 to remove any

 5 electronic devices they possessed that contained Micron information on them. Some of the electronic

 6 devices that contained Micron information were turned over to Taiwan law enforcement. At least one

 7 electronic device that contained Micron information was not turned over to Taiwan law enforcement and

 8 had been concealed by UMC and Chen.

 9          30.     In or around February 2017, in addition to his position at UMC, Chen assumed the post

10 of President of Jinhua.

11 Violations of 18 U.S.C. § 1832(a)(5): Conspiracy to Commit Theft of Trade Secrets

12          31.     As set forth in Paragraphs 15-30, beginning in or about October 2015, and continuing to

13 present day, defendants UMC, Jinhua and Chen, along with others named as defendants in the Indictment,

14
     knowingly combined, conspired, and agreed to:
15
                    a. knowingly steal and without authorization appropriate, take, carry away, and conceal,
16
                        and by fraud, artifice and deception obtain trade secrets belonging to Micron;
17
                    b. knowingly and without authorization copy, duplicate, sketch, draw, photograph,
18
                        download, upload, alter, destroy, photocopy, replicate, transmit, deliver, send, mail,
19
                        communicate, and convey trade secrets belonging to Micron; and
20
                    c. knowingly receive, buy, and possess trade secrets belonging to Micron, knowing the
21
                        same to have been stolen, appropriated, obtained, and converted without
22
                        authorization; intending to convert a trade secret that is related to a product, namely
23
                        DRAM, that is used in and intended for use in interstate and foreign commerce, to the
24
                        economic benefit of someone other than Micron, and intending and knowing that the
25
                        offense would injure Micron,
26
     in violation of Title 18, United States Code, Section 1832(a)(5).
27

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 1 Violations of 18 U.S.C. §§ 1831(a)(3) - Economic Espionage (Receiving and Possessing Stolen Trade

 2 Secrets)

 3
            32.      As set forth in Paragraphs 15-30, beginning in or about February 2016, and continuing to
 4
     present day, defendants UMC, Jinhua and Chen, along with others named as defendants in the Indictment,
 5
     intending and knowing that they would benefit a foreign government, foreign instrumentality, and foreign
 6
     agent, knowingly received, bought, and possessed Trade Secrets 1 through 8, knowing them to have been
 7

 8 stolen and appropriated, obtained, and converted without authorization, in violation of Title 18, United

 9 States Code, Section 1831(a)(3).
10                                       MICRON’S TRADE SECRETS
11 As set forth in the Indictment:

12          33.      Micron is the only United States-based company that manufactures DRAM. Micron’s
13 headquarters are in Boise, Idaho, and it maintains a large office in the Northern District of California.

14 Micron became a major participant in the global semiconductor industry with its purchase of Texas

15 Instruments’ DRAM memory business in 1998 and thereafter specialized in the advanced research and

16 development and manufacturing of memory products including, but not limited to, DRAM. Micron

17 provides approximately 20-25% of the world supply of DRAM.

18          34.      The trade secrets identified below consisted of detailed, confidential information used to
19 design and construct efficient manufacturing processes for advanced DRAM technology. The

20 development of this information and its confidentiality provides Micron with a significant competitive

21 advantage in the world market. This competitive advantage allows Micron to remain in business and

22 continue to research and develop advanced DRAM for commercial and other uses.

23          35.      MMT was one of Micron’s fabrication plants in Taiwan that engaged in making DRAM.
24 MMT assigned all intellectual property, including all trade secrets that it developed, to Micron.

25          36.      Micron’s DRAM technology included, but was not limited to, the following trade secrets,
26 as defined in 18 U.S.C. § 1839(3):

27                a. Trade Secret 1: The Micron process to manufacture and produce DRAM contained in
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 1 the totality of information stolen by Employees 1 and 2 from Micron and provided to UMC and Jinhua

 2 under the direction of Chen and others. Trade Secret 1 included ways and means in which proprietary

 3 and non-proprietary components were compiled and combined by Micron to form substantial portions of

 4 the DRAM design and manufacturing process, including Trade Secrets 2 through 8, below.

 5              b. Trade Secret 2: A 233-page PDF document identified with digital filename “FAB16 90s

 6 Traveler-20150518” (hereafter “25nm Process Traveler document”). The 25nm Process Traveler

 7 document contained comprehensive and very detailed information documenting the beginning-to-end

 8 manufacturing process for Micron’s 25nm DRAM product, including details of specifications and

 9 production processes.
10              c. Trade Secret 3: An Excel spreadsheet with multiple tabs identified with digital filename

11 “(ALL) IMP conditions Table_20150318” (hereafter “Implant Conditions Table”). The Implant

12 Conditions Table contained implant data required to make each of the various different transistor types

13 required to make a 25nm DRAM product. Data in the Implant Conditions Table included very specific

14 details of the relevant particular process code - which could be matched back to process descriptions in

15 Trade Secret 2.

16              d. Trade Secret 4: An Excel spreadsheet with multiple tabs identified with digital filename

17 “Implant Condition for MES setting_1015” (hereafter “Implant Conditions for MES document”). MES

18 referred to a particular software used to track the 25nm DRAM product through the fabrication process,

19 and the Implant Conditions for MES document was a tracking document that informed the software.

20 The document inputted into the MES software enabled Micron to closely monitor and manage its 25nm

21 DRAM fabrication process. The Implant Conditions for MES document provided critical details to

22 manage the fabrication of the 25nm DRAM product through the fabrication process and provided

23 information on the precision and outcome of each particular step.

24              e. Trade Secret 5: An Excel spreadsheet with multiple tabs identified with digital filename

25 “[DR25nmS] Design rules Periphery_EES_2012000026-013_Rev.13” (hereafter “Design Rules

26 document”). The Design Rules document contained detailed design specifications for the architecture of

27 the 25nm DRAM product, including details on how to layer Micron’s 25nm DRAM product. The

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 1 Design Rules document included precise information on how to build distances between elements in a

 2 DRAM product to avoid electrical and physical interference. The Design Rules document included

 3 Micron trade secrets related to these types of specifications, which were critical information needed to

 4 build a 25nm DRAM product.

 5                f. Trade Secret 6: A 302-page PDF document identified with digital filename

 6 “DRAM_100_series_(20nm)_traveler_(v00h) 150730” (hereafter “20nm Process Traveler document”).

 7 The 20nm Process Traveler document contained the specific types of details summarized in the 25nm

 8 Process Traveler document but for the next generation 20nm DRAM product. The 20nm Process

 9 Traveler document also contained details regarding Micron’s upgrade from the 25nm to the 20nm
10 DRAM product and contained trade secret information pertinent to both generations of the product.

11                g. Trade Secret 7: A 360 page PDF identified with digital filename

12 “dram_110_series_(1xnm)_traveler_(z11a)-20150915.pdf” (hereafter “1xnm Process Traveler

13 document”). The 1xnm Process Traveler document contained the comprehensive and very detailed

14 information documenting the beginning-to-end manufacturing process for Micron’s 1xnm DRAM

15 product, including details of specifications and production processes. The 1xnm DRAM product was

16 Micron’s most advanced DRAM at the time. The 1xnm Process Traveler document also contained

17 details regarding Micron’s upgrade from the 20nm DRAM product to the 1xnm DRAM product and

18 contained trade secret information pertinent to both generations of the product.

19                h. Trade Secret 8: A 260 page PDF identified with digital filename

20 “dram_1xnm_process_(Z11AA41200)_-_summary_flow_document” (hereafter “1xm Process Summary

21 Flow document”). The 1xnm Process Summary Flow document contained the manufacturing process of

22 the 1xn DRAM chip as it flowed through the manufacturing facility. It compared the 1xnm process flow

23 with prior generations of DRAM products. It described the evolution of the DRAM product to the 1xnm

24 generation, explaining the purpose and reasons why certain changes and upgrades were made from one

25 generation to the next.

26          37.      Micron took reasonable measures to keep Trade Secrets 1 through 8 secret, including

27 physical, electronic, legal, and policy measures.

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 1           38.     The information contained in Trade Secrets 1 through 8 derived independent economic

 2 value, actual and potential, from not being generally known to, and not being readily ascertainable

 3 through proper means by, another person who could obtain economic value from the disclosure or use of

 4 the information.

 5           39.     UMC did not, prior to the events alleged in this Complaint, possess advanced DRAM-

 6 related technology and did not produce DRAM. Beginning in 2016, UMC and Jinhua filed patent

 7 applications concerning DRAM technology that contain information that is the same or very similar to

 8 the misappropriated trade secrets – information that could not be obtained through reverse engineering.

 9 UMC and Jinhua could not have filed the patent applications, nor manufacture advanced DRAM, within
10 this short time period except through exploitation of Micron’s stolen trade secrets.

11           40.     The value of Trade Secrets 1 through 8, and each of them, to UMC and Jinhua, was at

12 least $400 million and up to $8.75 billion, including expenses for research and design and other costs of

13 reproducing the trade secrets that UMC and Jinhua avoided by the actions alleged in Paragraphs 15-30.

14

15                                         FIRST CAUSE OF ACTION
                                               18 U.S.C. § 1836(a)
16
             41.     The United States incorporates by reference all paragraphs of this complaint set out
17
     above as if fully set forth.
18
             42.     Title 18, United States Code, Section 1836(a) empowers the Attorney General to obtain
19
     appropriate injunctive relief against any violation of 18 U.S.C. §§ 1831 or 1832.
20
             43.     As set forth above, Defendants violated 18 U.S.C. § 1831(a)(5) (conspiracy to commit
21
     economic espionage); 18 U.S.C. § 1832(a)(5) (conspiracy to commit theft of trade secrets); and 18
22
     U.S.C. § 1831(a)(3) (Economic espionage – receipt and possession of stolen trade secrets).
23
             44.     The United States seeks permanent injunctive relief to prevent Defendants from using or
24
     conveying Micron’s trade secrets. In particular, the United States seeks an order prohibiting Defendants
25
     from: (1) exporting, reexporting, causing the export of, attempting to export to the United States; selling
26
     or supplying, directly or indirectly to the United States; or causing the import into the United States of
27

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 1 any products containing DRAM manufactured by Jinhua or UMC; or conducting any transaction that

 2 evades or avoids or has the purpose of evading or avoiding that prohibition; or (2) transferring or in any

 3 way conveying Trade Secrets 1-8 to any other individual or entity.

 4

 5                                           PRAYER FOR RELIEF

 6          WHEREFORE, the United States demands and prays that judgment be entered in its favor
 7 against defendants through a Final Order that permanently enjoins Chen, UMC, Jinhua, and their agents,

 8 servants, employees, attorneys, and all persons acting in concert or participation with them, from the

 9 unauthorized acquisition, disclosure, use, duplication, or distribution of the Micron trade secrets,
10 including through a prohibition on: (1) exporting, reexporting, causing the export of, attempting to

11 export to the United States; selling or supplying, directly or indirectly to the United States; or causing

12 the import into the United States of any products containing DRAM manufactured by Jinhua or UMC;

13 or conducting any transaction that evades or avoids or has the purpose of evading or avoiding that

14 prohibition; or (2) transferring or in any way conveying Trade Secrets 1-8 to any other individual or

15 entity; and for all such further relief as may be just and proper.

16

17                                                 Respectfully submitted,
18
                                                   ALEX G. TSE
19                                                 United States Attorney

20                                                 /s Kimberly Friday
                                                   KIMBERLY FRIDAY
21                                                 Assistant United States Attorney
22                                                 Attorneys for the United States of America
23
     DATED: November 1, 2018
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